
ANGELLOTTI, J.
The plaintiff brought this action to obtain a decree of divorce from defendant. Service upon de-. fendant was made by publication of summons. Defendant has never appeared in the action, either in this court or in the court below, and her default was entered in the superior court on February 3, 1903.
The cause was heard by the court, and judgment was given denying plaintiff the relief sought or any relief. From this judgment plaintiff has appealed to this court upon the judgment-roll and a bill of exceptions. The transcript on appeal was filed therein on May 29, 1903, and the printed points and authorities of appellant were filed on July 2, 1903. Plaintiff now seeks an order submitting said cause for decision.
Upon these facts, plaintiff is entitled to have said cause *597placed by the clerk upon the list of causes to be submitted, provided for by rule III of this court, and it is ordered accordingly.
Van Dyke, J., Shaw, J., McFarland, J., Henshaw, J., Lorigan, J., and Beatty, C. J., concurred.
